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Exhibit F-6

CERTAIN CUBS EXCLUDED LIABILITIES

1. Any obligation, liability or Loss, whether civil, criminal, or otherwise, of any Tribune
Party or any of its Representatives related to or resulting from any discussion,
communication, understanding or agreement between any Tribune Party and any state,
city or other Government Authority in the State of Illinois, including the Governor’s
office, the Illinois Finance Authority and the Illinois Sports Facilities Authority, or any
official or representative thereof regarding a sale, lease, disposition, renovation or
financing of Wrigley Field and any matters related thereto or resulting therefrom.
Tribune Company has fully cooperated with the relevant authorities in connection with
this matter and, as previously publicly disclosed, Tribune Company continues to believe
that the actions of the company and its executives and advisors working on such matter
were appropriate at all times. Further, there have been no material developments on this
matter with respect to any Tribune Party over the past several months.

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